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 Attorneys for Plaintiffs

                  IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAI‘I


  LIANE WILSON, and                       CIVIL NO. CV 11-00538 LEK BMK
  JOANNA WHEELER
                                          JOINT STIPULATION AND ORDER
                     Plaintiff,           FOR EXTENSION OF COURT
                                          DEADLINES
        vs.

  WYNDHAM WORLDWIDE
  CORPORATION, WYNDHAM
  VACATION OWNERSHIP, INC.
  WYNDHAM VACATION RESORTS,
  INC., MICHAEL JONAH, MARK
  POLLARD, AND TOM VIRAGE

                     Defendants.
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     JOINT STIPULATION AND ORDER FOR EXTENSION OF COURT
                          DEADLINES

       Pursuant to Federal Rule of Civil Procedure 26, Plaintiffs Liane Wilson and

 Joanna Wheeler and Defendants Wyndham Worldwide Corporation, Wyndham

 Vacation Ownership, Inc., Wyndham Vacation Resorts, Inc., Michael Jonah, Mark

 Pollard, Tom Virag, acting through their respective counsel of record, hereby stipulate

 and agree, subject to the approval of Court, that the Court’s Order to Amend Order

 Staying Discovery And All Other Court Deadlines to May 7, 2013, dated April 16,

 2013 (Dkt. No. 73) be amended as follows:

       1.     The parties are in the process of signing Plaintiff Joanna Wheeler’s

              settlement agreement. A stipulation of dismissal with prejudice is

              forthcoming.

       2.     The parties have continued settlement discussions concerning Plaintiff

              Liane Wilson’s claims.

       3.     The parties stipulate that all deadlines in the Court’s Order dated April

              16, 2013 be extended one month from May 7, 2013 to June 7, 2013 in

              order to permit additional time for the parties to execute Plaintiff Joanna

              Wheeler’s settlement agreement and resolve Plaintiff Liane Wilson’s

              claims.

       Dated: Honolulu, Hawai‘i, May 7, 2013.

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       Respectfully Submitted



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                                  ORDER


 APPROVED AND SO ORDERED:

       Dated:     Honolulu, Hawai‘I, May 10, 2013.




                                       /S/ Barry M. Kurren
                                      Barry M. Kurren
                                      United States Magistrate Judge




 __________________________________________________________________
  CASE NO.: CV 11-00583 LEK BMK - JOINT STIPULATION AND [PROPOSED] ORDER
                     FOR EXTENSION OF COURT DEADLINES




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